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Case 2:19-cv-00193-HSO-MTP Document 34 Filed 02/10/20 Page 1 of 2

 

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IN THE UNITED STATES DISTRICT COURT FEB 10 2020

FOR THE SOUTHERN DISTRICT OF MISSISSIPP]
EASTERN DIVISION BY

 

 

ARTHUR JOHNSTON

SOUTHERN DISTRICT OF MISSISSIPPI

EPUTY

 

 

 

PENNYMAC LOAN SERVICES, LLC, Civil Action No. 2:19-CV-00193-KS-MTP

Plaintiff(s),

DEFENDANT SANDRA GOULETTE’S
OPPOSITION TO PLAINTIFEF(S)
APPLICATION TO CLERK FOR ENTRY
OF DEFAULT

V.

SITCOMM ARBITRATION ASSOCIATION,
MARK MOFFETT, SANDRA GOULETTE,
RONNIE KAHAPEA, MARK JOHNSON,
KIRK GIBBS, and ALARIC SCOTT

 

Defendant(s).

 

 

 

DEFENDANT SANDRA GOULETTE’S OPPOSITION TO PLAINTIFF(S)
APPLICATION TO CLERK FOR ENTRY OF DEFAULT

COMES NOW, Defendant Sandra Goulette, with this Opposition to Plaintiff(s)
Application to Clerk for Entry of Default, as follows:

1. Defendant Sandra Goulette did answer the Complaint in a timely manner; and

2. The Affidavit presented by the Plaintiff(s) in this matter does not contain firsthand
and/or personal knowledge and was not executed after being fully sworn and/or deposed as
evidenced by lack of any witness.

3. Further, Defendant Sandra Goulette asks this Court to Strike the Affidavit presented
by the Plaintiff(s) as outlined in the attached Affidavit of Truth of Defendant Goulette.

Executed on this 07" day of February 2020.

 

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Case 2:19-cv-00193-HSO-MTP Document 34 Filed 02/10/20 Page 2 of 2

CERTIFICATE OF SERVICE
I, Sandra Goulette, being at or above the age of 18; of the majority and a citizen
of the United States of America, did mail the documents entitled:
DEFENDANT SANDRA GOULETTE’S OPPOSITION TO PLAINTIFF(S)
APPLICATION TO CLERK FOR ENTRY OF DEFAULT

To the following:

1. United States District Court
Southern District of Mississippi
701 Main Street EXPRESS MAIL
Hattiesburg, Mississippi 39401 U.S.P.S. Tracking 9470111699000689 138840

2. Upshaw, Williams, Biggers & Beckham, LLP
309 Fulton Street, P.O. Drawer 8230
Greenwood, Mississippi 38935-8230 U.S.P.S. Tracking 9405511699000689138950
Via United States Postal Service Priority & Overnight Mail by affixing the proper
postage and depositing it with the local postal carrier, also being of the age of the majority, and
not a party to this action who upon receipt guarantees delivery as addressed and/or local drop
box guaranteeing the same as prescribed in law. If called upon I provide this sworn testimony

based on first-hand knowledge of the aforementioned events attesting and ascribing to these facts

on this day February 07, 2020.

     

Sandra Goulette

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